Case: 4:09-cr-00222-HEA   Doc. #: 161 Filed: 10/21/09   Page: 1 of 8 PageID #:
                                     500
Case: 4:09-cr-00222-HEA   Doc. #: 161 Filed: 10/21/09   Page: 2 of 8 PageID #:
                                     501
Case: 4:09-cr-00222-HEA   Doc. #: 161 Filed: 10/21/09   Page: 3 of 8 PageID #:
                                     502
Case: 4:09-cr-00222-HEA   Doc. #: 161 Filed: 10/21/09   Page: 4 of 8 PageID #:
                                     503
Case: 4:09-cr-00222-HEA   Doc. #: 161 Filed: 10/21/09   Page: 5 of 8 PageID #:
                                     504
Case: 4:09-cr-00222-HEA   Doc. #: 161 Filed: 10/21/09   Page: 6 of 8 PageID #:
                                     505
Case: 4:09-cr-00222-HEA   Doc. #: 161 Filed: 10/21/09   Page: 7 of 8 PageID #:
                                     506
Case: 4:09-cr-00222-HEA   Doc. #: 161 Filed: 10/21/09   Page: 8 of 8 PageID #:
                                     507
